Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3381 Filed 06/04/09 Page 1 of 10




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                           ______________________________


 UNITED STATES OF AMERICA,
                                                         Case No. 07-20309
               Plaintiff/Appellee,
                                                         Hon. Victoria A. Roberts
 v.

 DAVID ANDREW CARTER,

               Defendant/Appellant.

 _____________________________________________________________________

              ORDER DENYING MOTION FOR BOND PENDING APPEAL


 I.     INTRODUCTION

        This matter is before the Court on Defendant’s Motion for Bond Pending Appeal

 (Doc. 258), filed May 1, 2009. The Court DENIES the Motion.

 II.    BACKGROUND

        Defendant was charged along with 10 co-defendants with: Count I - Conspiracy

 to Possess with Intent to Distribute and to Distribute Marijuana, in violation of 21 U.S.C.

 §841(a)(1) and 846, and Count II - Possession with Intent to Distribute Marijuana,

 Aiding and Abetting, in violation of 21 U.S.C. §841(a)(1) and 18 U.S.C §2. Defendant

 alone was charged with Count III - Using/Carrying a Firearm During a Drug Trafficking

 Offense, in violation of 18 U.S.C. §924(c).

        A jury convicted Defendant of Possession with Intent to Distribute Marijuana,

 Aiding and Abetting, in violation of 21 U.S.C. §841(a)(1) and Using/Carrying a Firearm


                                               1
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3382 Filed 06/04/09 Page 2 of 10




 During a Drug Trafficking Offense, in violation of 18 U.S.C. §924(c); he was acquitted of

 Count I. Both convictions carry mandatory minimum sentences.

        On March 23, 2009, this Court sentenced Defendant to 120 months

 imprisonment on the possession count and a consecutive 60 months on the weapons

 count. The Court granted Defendant’s request to self-report to the United States

 Bureau of Prisons (“BOP”), with no objection by the Government. Defendant was

 scheduled to report to the BOP on May 5, 2009.

        On April 1, 2009, Defendant timely filed a Notice of Appeal.

        On May 1, 2009, Defendant filed this Motion for Bond Pending Appeal. He asks

 the Court to grant him bond pending appeal, or in the alternative, to enter an order

 delaying his report date so that counsel could receive and review the trial transcripts to

 more fully develop the Motion. The Government opposed the Motion.

        On May 4, 2009, this Court granted Defendant’s Motion in part and adjourned his

 report date to June 8, 2009. (Doc. # 260). The Court allowed the parties to review the

 trial transcripts and file supplemental briefs.

        On May 26, 2009, Defendant filed a supplemental brief in support of his Motion.

 The Government did not file a supplement.

 III.   CASE LAW AND ANALYSIS

        Under the Bail Reform Act of 1984, a person found guilty of an offense and

 sentenced to a term of prison must be detained unless a judicial officer concludes: (1)

 by clear and convincing evidence, that he is not likely to flee or pose a danger to the

 safety of another person or the community, and (2) that the appeal is not for delay and

 raises a substantial question of law or fact likely to result in reversal, an order for new

                                               2
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3383 Filed 06/04/09 Page 3 of 10




 trial, a sentence that does not include a term of imprisonment, or a sentence reduced to

 a term of imprisonment less than the total of the time already served plus the expected

 duration of the appeal process. 18 U.S.C. § 3143(b)(1); United States v. Chilingirian,

 280 F.3d 704, 709 (6th Cir. 2002); United States v. Pollard, 778 F.2d 1177, 1181 (6th

 Cir. 1985).

        Section 3143 creates a presumption against release pending appeal. United

 States v. Vance, 851 F.2d 166, 169 (6th Cir. 1988), cert. denied, 488 U.S. 893, 109 S.

 Ct. 231, 102 L. Ed. 2d 220 (1988). In overcoming the presumption, the burden of proof

 rests with the defendant. Id. (citing Pollard, 778 F.2d at 1181-1182).

        A. Risk of Flight and Danger to Others

        In ascertaining whether to detain or release a defendant, the judicial officer is

 directed by the statute to consider the available information concerning several factors,

 including: (1) the nature and seriousness of the offense charged; (2) the weight of

 evidence against the defendant; (3) the defendant's character, physical and mental

 condition, family and community ties, past conduct, history relating to drug or alcohol

 abuse, and criminal history; and (4) the nature and seriousness of the danger to any

 person or the community that would be posed by the defendant's release. Vance, 851

 F.2d at 168-169 (quoting United States v. Delker, 757 F.2d 1390, 1393, 1398-99 (3d

 Cir. 1985).

        Defendant says he is not a flight risk and does not pose a danger to the

 community. He notes that he: (1) is 42 years old with no criminal record, (2) is married

 and resides with his wife and stepson, (3) was a small business owner up to the time of

 this offense, (4) has the strong support of parents and siblings who live in this area, and

                                              3
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3384 Filed 06/04/09 Page 4 of 10




 (5) was convicted of a non-violent offense.

        The Court considered these factors at sentencing, so it need not rehash them

 here. Applying the elements of 18 U.S.C. § 3143(b)(1)(A)-(B), the Court finds by clear

 and convincing evidence that Defendant is not likely to flee or pose a danger to the

 safety of another person or the community if allowed to remain on bond pending his

 appeal.

        B. Substantial Question of Law or Fact

        An appeal raises a substantial question when the appeal presents a close

 question or one that could go either way and the question is so integral to the merits of

 the conviction that it is more probable than not that reversal or a new trial will occur if

 the question is decided in the defendant's favor. Pollard, 778 F.2d at 1182. See also

 United States v. Mikell, No. 97-CR-81493, 2007 U.S. Dist. LEXIS 4233, at *6 (E.D.

 Mich. Jan. 22, 2007) (unpublished) ("Courts have also held that a substantial question is

 'either a novel question, one that has not been decided by controlling precedent, or one

 which is fairly doubtful.'"); United States v. Henson, 663 F. Supp. 1112, 1113 (W.D. Ky.

 1987) (same) (citing United States v. Miller, 753 F.2d 19, 23 (3d Cir. 1985).

        Defendant cites United States v. Craig, 522 F.2d 29 (6th Cir. 1975) in support of

 his contention that his appeal raises a substantial question regarding sufficiency of the

 evidence. Defendant did not move for acquittal or new trial, so he raises this issue for

 the first time in this Motion.

        In Craig, the defendant drove his co-defendant to an apartment complex where

 federal agents, posing as buyers, had arranged a controlled drug buy. Craig remained

 in his truck as the co-defendant carried a closed box containing drugs into the

                                               4
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3385 Filed 06/04/09 Page 5 of 10




 apartment. Federal agents in the apartment opened the box and gave a pre-arranged

 signal to other agents stationed in vehicles near the apartment. When the agents

 moved toward the apartment, Craig sped off and fled. He was apprehended two years

 later and convicted by a jury of aiding and abetting in the possession of drugs. Craig

 challenged his conviction based on sufficiency of the evidence.

        On appeal, the Sixth Circuit reversed. It reasoned that the evidence against

 Craig consisted solely of his presence in the truck at the apartment, his flight from the

 scene and the presence of a shotgun in the vehicle. The court said that evidence was

 insufficient to establish essential elements of the offense -- that Craig had either the

 intent to exercise control over the drugs, or knowledge of the presence of the drugs in

 the closed box. Accordingly, the evidence was insufficient to support either a conviction

 for illegal possession of drugs or aiding and abetting in their possession. Craig, 522

 F.2d at 31-32.

        The critical inquiry on review of the sufficiency of the evidence is not simply

 whether the jury was properly instructed, but whether the evidence could reasonably

 support a finding of guilt beyond a reasonable doubt. Jackson v. Virginia, 443 U.S. 307,

 319; 99 S. Ct 2781, 2789; 61 LEd2d 560 (1979). This inquiry does not require a court to

 "ask itself whether it believes that the evidence at the trial established guilt beyond a

 reasonable doubt." Woodby v. INS, 385 U.S. 276, 282; 87 S. Ct. 483, 486; 17 L. Ed. 2d

 362, 367 (1966). Instead, the relevant question is whether, after viewing the evidence

 in the light most favorable to the prosecution, any rational trier of fact could have found

 the essential elements of the crime beyond a reasonable doubt. See Johnson v.

 Louisiana, 406 U.S. 356, 362; 92 S. Ct. 1620, 1625; 32 L. Ed. 2d 152, 160 (1972).

                                              5
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3386 Filed 06/04/09 Page 6 of 10




 Under this standard of review, Defendant faces "a very heavy burden." See United

 States v. Tocco, 200 F.3d 401, 424 (6th Cir. 2000).

        In order to establish a defendant guilty of possession with intent to distribute, in

 violation of 21 U.S.C. § 841(a)(1), the government must prove the following elements

 beyond a reasonable doubt: (1) the defendant knowingly; (2) possessed a controlled

 substance; (3) with intent to distribute." United States v. Gibbs, 182 F.3d 408, 424 (6th

 Cir. 1999). "To prove aiding and abetting, the government must show that [the

 defendant] knew that the principals possessed [the controlled substance] with the intent

 to distribute it, and that [the defendant] assisted in their plan to deliver [it]." United

 States v. Ledezma, 26 F.3d 636, 641 (6th Cir. 1994). [Defendant's] mental state is thus

 an essential element of the offense . . . . United States v. Bennett, 291 F.3d 888, 895

 (6th Cir. 2002).

        Defendant argues that the evidence presented at trial was insufficient to sustain

 a conviction since it showed nothing more than his mere presence at the scene of the

 raid and arrest; he says this was the only evidence tying him to the alleged crime.

        The Government says that Defendant’s challenge to the sufficiency of the

 evidence does not present a substantial question. The Government contends the

 Motion is an attempt to forestall and delay service of his sentence.

        Several officers testified at trial regarding their surveillance efforts. Michigan

 State police officer Daniel Pizana testified that Defendant’s black cargo truck arrived at

 the warehouse at 11:52 am. Trial Transcript, Volume II, p. 160. There was the driver

 and one passenger, Cordell Sain, inside the truck. Trial Transcript, Volume II, p. 160-

 161. At 12:05 pm, the driver backed the truck towards the overhead door, then left the

                                                 6
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3387 Filed 06/04/09 Page 7 of 10




 location. Trial Transcript, Volume II, p. 161. The black cargo truck returned around 1:55

 pm. Trial Transcript, Volume II, p. 169. At 2:07 pm, the black truck backed up to the

 overhead door, and after it was parked Pizana heard a loud banging noise. Trial

 Transcript, Volume II, p. 173. At 2:10 pm, he observed DEA agents rush in for a take

 down. Trial Transcript, Volume II, p. 174.

        Arresting officer Michael Maurier testified that just prior to the takedown, he

 observed several males in a line passing rectangular objects from the warehouse floor

 to the truck; these objects, packaged in Saran Wrap, appeared to be marijuana. Trial

 Transcript, Volume II, p. 213-214. There was a large pile of these packages on the

 warehouse floor. Trial Transcript, Volume II, p. 214. Maurier was the first officer to look

 inside the black truck and observe four people; Defendant was one of the four. Trial

 Transcript, Volume II, p. 217. Maurier observed more than 100 bales inside the truck.

 Trial Transcript, Volume II, p. 219. Once inside the truck, he could smell unburnt

 marijuana. Trial Transcript, Volume II, p. 220. A handgun was seized from Defendant,

 inside the black truck. Trial Transcript, Volume II, p. 220.

        Defendant testified that he arrived at the warehouse around noon. Trial

 Transcript, Volume V, p. 34. He was told to get something to eat and come back, which

 he did. Trial Transcript, Volume V, p. 35. He returned around 2:07 pm. Trial Transcript,

 Volume V, p. 21. Someone tapped on the door and told him to go to the back. Trial

 Transcript, Volume V, p. 21. Three minutes after arriving, he went inside the building.

 Trial Transcript, Volume V, p. 16. He immediately heard a lot of bumping, then stepped

 into the back of the truck. Trial Transcript, Volume V, p. 16. Once he entered the truck,

 the raid occurred. Trial Transcript, Volume V, p. 16. In the short time he was in the

                                               7
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3388 Filed 06/04/09 Page 8 of 10




 truck, he did not have time to reflect to see what the packages contained. Trial

 Transcript, Volume V, p. 48. He never removed, stowed or stacked any packages. Trial

 Transcript, Volume V, pp. 16-17.

        Defendant also testified that he was wearing his company shirt with a CMC

 emblem on the chest. Trial Transcript, Volume V, p. 17. He carried a loaded pistol in his

 waist, but had a concealed weapons permit. Trial Transcript, Volume V, p. 18. He was

 at the location because he received a call to move 200 boxes; he brought pads, dollies,

 and straps for a professional move. Trial Transcript, Volume V, p. 22-23. He never

 agreed to participate in any illegal act and did not know the parties. Trial Transcript,

 Volume V, p. 24.

        In his Motion, Defendant says there is no evidence that he knew the marijuana

 was in the warehouse before his arrival, or that he was ever involved or suspected of

 engaging in illegal activity. He also notes that his name was unknown to law

 enforcement prior to his arrest.

        The evidence was debatable and close. However, jury verdicts finding guilt

 beyond a reasonable doubt are regularly sustained even though the evidence was such

 that the jury would have been justified in having a reasonable doubt; even though the

 trial judge might not have reached the same conclusion as the jury; and, even though

 appellate judges are often closely divided on whether there was sufficient evidence to

 support a conviction. Johnson, 406 U.S. at 362.

        This case is inapposite to Craig where the drugs were contained in a small

 closed box and there was no indication that Craig knew of the contents. Here, there

 were multiple bales of marijuana packaged in a manner consistent with methods used

                                              8
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3389 Filed 06/04/09 Page 9 of 10




 by drug traffickers. The bales were out in the open, both on the warehouse floor and

 inside Defendant’s black truck. And, the smell of unburnt marijuana was apparent. A

 jury could have determined that Defendant was duped into appearing at the location for

 what he believed was a legitimate professional move. However, by virtue of the

 surrounding circumstances and the large quantity of marijuana, a jury could have just as

 easily determined beyond a reasonable doubt that Defendant knew his co-defendants

 possessed the marijuana with intent to deliver it and he assisted in the plan by allowing

 his truck to be used to carry and transport the large load.

        Despite the Court's determination that Defendant poses little risk of flight or

 danger to the community, the motion for bond must be denied; Defendant fails to raise a

 substantial question of law or fact that, if decided in his favor, would likely result in

 reversal, a new trial, or an adjustment of his sentence on appeal. See Chilingirian, 280

 F.3d at 709 (6th Cir. 2002) (denying bond solely because defendant failed to raise a

 substantial question).

 IV.    CONCLUSION

        The Court DENIES Defendant’s Motion for Bond Pending Appeal because he did

 not overcome the presumption in favor of detention. Defendant must self-report to the

 BOP on June 8, 2009 at noon.

        IT IS ORDERED.

                                             S/Victoria A. Roberts
                                             Victoria A. Roberts
                                             United States District Judge

 Dated: June 4, 2009



                                                9
Case 2:07-cr-20309-LVP-RSW ECF No. 290, PageID.3390 Filed 06/04/09 Page 10 of 10




  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  June 4, 2009.

  s/Carol A. Pinegar
  Deputy Clerk




                                                  10
